It would be to no purpose for this Court to decide whether the paper writings offered in evidence were properly rejected by the circuit judge, or not; for, upon the supposition that they were not, we could not grant a new trial after the acquittal of the defendant.
The act of 1815, ch. 895, gives the power of granting   (463) new trials to the Superior Courts only where the defendant is found guilty. As, therefore, the judge trying this cause could not have awarded a new trial, we cannot reverse his judgment for having refused it. The verdict must consequently remain.
Cited: S. v. Martin, 10 N.C. 381; S. v. Credle, 63 N.C. 507; S. v.Phillips, 66 N.C. 646; S. v. West, 71 N.C. 264; S. v. Lane, 78 N.C. 550;S. v. Powell, 86 N.C. 643; S. v. Ostwalt, 118 N.C. 1214, 1220; S.v. Savery, 126 N.C. 1087.